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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                    :
DIAMONIK HOUGH, et al.,             :
                      Plaintiffs,   :
                                    :     Civil Action
                 v.                 :     No. 2:20-cv-03508
                                    :
CITY OF PHILADELPHIA,               :
                                    :
                      Defendants.   :
           STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

       Plaintiffs and Defendant City of Philadelphia, through their undersigned counsel, hereby

agree that City of Philadelphia shall have an extension to April 2, 2021 to respond to Plaintiffs’

complaint in the captioned matter.

 MARSHALL DENNEHEY WARNER
    COLEMAN AND GOGGIN

                                                               Paul J. Hetznecker/s/

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                                      APPROVED BY THE COURT:


                                                                               J.
